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                            UNITED STATES DISTRICT COURT
  16
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Netflix Studios, LLC; Amazon Content    Case No. 2:18-CV-00230-MWF (AS)
     Services, LLC; Columbia Pictures
  19 Industries, Inc.; Disney Enterprises,   AMENDED CORPORATE
     Inc.; Paramount Pictures Corporation;   DISCLOSURE
  20 Twentieth Century Fox Film
     Corporation; Universal City Studios
  21 Productions LLLP; Warner Bros.          Judge: Hon. Michael W. Fitzgerald
     Entertainment Inc.
  22
                   Plaintiffs,
  23
            vs.
  24
     Dragon Media Inc. d/b/a Dragon Box;
  25 Paul Christoforo; Jeff Williams.
  26              Defendants.
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                                                       AMENDED CORPORATE DISCLOSURE
                                                        CASE NO. 2:18-CV-00230 - MWF (AS)
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   1         Plaintiffs’ disclosure pursuant to Federal Rule of Civil Procedure 7.1 and
   2
       Local Civil Rule 7.1-1 (Dkt. 4) is amended as follows:
   3
   4            1. Plaintiff Warner Bros. Entertainment Inc. is a wholly-owned, indirect
   5               subsidiary of AT&T Inc., a publicly traded corporation.
   6
       DATED: June 29, 2018                MUNGER, TOLLES & OLSON LLP
   7
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  10                                       By:        /s/ Kelly M. Klaus
  11                                           KELLY M. KLAUS
                                           Attorneys for Plaintiffs
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                                                                AMENDED CORPORATE DISCLOSURE
                                                                 CASE NO. 2:18-CV-000230 - MWF (AS)
